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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                            DOC #: ____________________
                                                                     DATE FILED: __11/15/2021

               -against-
                                                                               20 Cr. 557 (AT)
ALVIN FORDE,
                                                                                   ORDER
                                Defendant.
ANALISA TORRES, District Judge:

        The Court will hold a substitution of counsel hearing in this matter on November 17,
2021, at 2:30 p.m., in Courtroom 15D of the United States Courthouse, 500 Pearl Street, New
York, New York 10007. In light of the ongoing COVID-19 pandemic, all individuals seeking
entry to 500 Pearl Street must complete a questionnaire and have their temperature taken before
being allowed entry into the courthouse. To gain entry to 500 Pearl Street, follow the
instructions provided here:

     https://www.nysd.uscourts.gov/sites/default/files/2020-10/QR%20Sign%20-
%20Public_Media_v.5.pdf.

        All individuals must practice social distancing at all times in the courthouse. Individuals
must wear a mask that covers their nose and mouth at all times in the courthouse. Bandanas,
gaiters, and masks with valves are not permitted.

       By October 28, 2021, at 5:00 p.m., counsel must advise the Court of how many
spectators will attend the proceeding. The parties must advise the Court by the same date how
many individuals will be seated at counsel’s table. Special accommodations may need to be
made if more than ten unvaccinated spectators are expected to attend, or more than three
unvaccinated individuals are expected to be seated at counsel’s table.

       The Government should not attend.

       SO ORDERED.

Dated: November 15, 2021
       New York, New York
